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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   United States of America,                          No. CR-19-00898-001-PHX-DLR
10                  Plaintiff,                          ORDER
11   v.
12   David Allen Harbour,
13                  Defendant.
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16          Before the Court is the government’s motion for protective order (Doc. 119), which

17   is fully briefed. (Docs. 123, 128.) Under Federal Rule of Criminal Procedure 16(d), the
18   Court may issue protective orders for good cause. “The Ninth Circuit has yet to define

19   what constitutes ‘good cause’ to restrict discovery pursuant to Federal Rule of Criminal

20   Procedure 16.” United States v. Patkar, No. CR. 06-00250 JMS, 2008 WL 233062, at *4
21   (D. Haw. Jan. 28, 2008). Nonetheless, courts have found the standards for good cause for
22   protective orders in civil cases under Federal Rule of Civil Procedure 26(c) useful. Id. In

23   civil litigation, “the party asserting good cause bears the burden, for each particular

24   document it seeks to protect, of showing that specific prejudice or harm will result if no

25   protective order is granted.” Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1130

26   (9th Cir. 2003) (citation omitted). “[B]road allegations of harm, unsubstantiated by specific
27   examples or articulated reasoning, do not satisfy the Rule 26(c) test.” Beckman Ind., Inc.
28   v. Int'l Ins. Co., 966 F.2d 470, 476 (9th Cir.1992) (quoting Cipollone v. Liggett Grp., Inc.,
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 1   785 F.2d 1108, 1121 (3rd Cir. 1986)).
 2          In its reply, the government notes that the relevant witness list contains the names
 3   of victim-investors and cooperating witnesses and that the exhibit list identifies records
 4   expected to be admitted through these witnesses. The government also suggests, generally,
 5   that the witnesses in this case are concerned for their safety and privacy, but provides no
 6   support for why the witnesses should be concerned for their safety, especially when the
 7   relevant documents are under seal. In this case, the government has not made any showing
 8   of specific injury to a victim’s privacy or safety for each document. The government also
 9   does not supply the Court with specific information explaining whose safety or privacy,
10   specifically, is at risk, what threatens their safety or privacy, and what tailored portions of
11   discovery must be protected in order to prevent that injury. Ordinarily, when presented
12   with an insufficient showing of good cause, the Court would deny a motion for protective
13   order outright. However, the Court takes witness safety very seriously and is hesitant to
14   deny protections at this juncture, in the event they are, indeed, necessary.
15          IT IS ORDERED that the government has a final opportunity to meet the good
16   cause standard by filing a thorough supplemental brief, no later than October 5, 2020,
17   which makes specific and detailed argument as to the safety concerns faced by witnesses
18   in the absence of a protective order with regard to each document. Defendant may file a
19   response no later than October 9, 2020.
20          Dated this 30th day of September, 2020.
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                                                    Douglas L. Rayes
25                                                  United States District Judge
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